        Case: 3:17-cv-00015-jdp Document #: 72 Filed: 10/20/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 JUSTIN WILLIAM VANDERA,

                               Plaintiff,
        v.

 JONATHAN S. PAWLYK, SGT. TRITT, LT. TRITT,                                 ORDER
 SGT. BULLZACK, SGT. KOOTZ, CO BIKOWSKI,
 PAUL LUDVIGSTON, TONI MELI, CAPT. RADTKE,                               17-cv-15-jdp
 DR. VAN BUREN, DR. SCHMIDT, LT. LARSON,
 CAPT. HAYNES, MISS HALPER, HOUSTON MARX,
 and CORY SABISH,

                               Defendants.


       Plaintiff Justin W. VanDera alleges that prison officials placed him in an unsanitary cell

and failed to properly address his threats of self-harm or stop him once he began harming

himself. I previously stayed the case to recruit pro bono counsel to represent VanDera. Dkt. 63.

       The court has now located counsel. Attorneys Jennifer L. Gregor and Maxted Lenz of

the law firm Godfrey & Kahn, S.C. have agreed to represent VanDera, with the understanding

that they will serve with no guarantee of compensation for their services. It is the court’s

intention that the scope of representation extends to proceedings in this court only.

“Proceedings in this court” include all matters leading up to a final judgment on the merits, the

filing of a notice of appeal, if appropriate, and ensuring that all steps are taken to transfer the

record to the Court of Appeals for the Seventh Circuit.

       VanDera should understand that because he is now represented in this case, he may

not communicate directly with the court from this point forward. He must work directly with

his lawyers and must permit them to exercise their professional judgment to determine which

matters are appropriate to bring to the court’s attention and in what form. VanDera does not
        Case: 3:17-cv-00015-jdp Document #: 72 Filed: 10/20/20 Page 2 of 2




have the right to require counsel to raise frivolous arguments or to follow every directive that

he makes. He should be prepared to accept the strategic decisions made by his lawyers even if

he disagrees with some of them. If VanDera decides at some point not to work with these

lawyers, he is free to end the representation, but he should be aware that it is unlikely that the

court will recruit another lawyer to represent him.



                                            ORDER

       IT IS ORDERED that the clerk of court is directed to set a telephone conference before

Magistrate Judge Stephen Crocker to set the schedule for the remainder of the proceedings in

this lawsuit.

       Entered October 20, 2020.

                                             BY THE COURT:

                                             /s/
                                             ________________________________________
                                             JAMES D. PETERSON
                                             District Judge




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